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  8                       UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
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 11   GINO MASCIA,                            Case No. 8:21-cv-00890-CJC-DFM
 12              Plaintiff,                   District Judge: Cormac J. Carney
 13        vs.                                Magistrate Judge: Hon. Douglas F.
                                              McCormick
 14 SEAPORT SASH & DOOR, INC.;
    ALEX HERRERA; and DOES 1 to 50, ORDER GRANTING JOINT
 15 inclusive,                      STIPULATION AND REQUEST
                                    FOR DISMISSAL WITH
 16            Defendants.          PREJUDICE OF ALL CLAIMS
 17
                                              Action Filed:   March 22, 2021
 18                                           Trial Date:     November 8, 2022
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                                          1                     Case No. 8:21-CV-00890
      ORDER GRANTING JOINT STIPULATION AND REQUEST FOR DISMISSAL
                    WITH PREJUDICE OF ALL CLAIMS
Case 8:21-cv-00890-CJC-DFM Document 12 Filed 10/13/21 Page 2 of 2 Page ID #:63



  1                                           ORDER
  2         Upon review of the Joint Stipulation for Approval of Settlement Agreement and
  3   Request for Dismissal With Prejudice, in the above-referenced matter, submitted by
  4   Plaintiff GINO MASCIA and Defendants SEAPORT SASH & DOOR, INC. and
  5   ALEX HERRERA (collectively, the “Parties”), the Court hereby finds that the
  6   settlement terms represent a fair and equitable resolution of this matter and that the
  7   Plaintiff is receiving a reasonable and satisfactory recovery of his claims, and payment
  8   of attorneys’ fees and costs.
  9         IT IS HEREBY ORDERED that the Parties’ Settlement Agreement and
 10 Release is APPROVED. This action, and the claims asserted herein by Plaintiff, is

 11 hereby DISMISSED WITH PREJUDICE.

 12
            IT IS SO ORDERED.
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      Dated: October 13, 2021
 15                                                   Hon. Cormac J. Carney
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                                                2                       Case No. 8:21-CV-00890
      ORDER GRANTING JOINT STIPULATION AND REQUEST FOR DISMISSAL
                    WITH PREJUDICE OF ALL CLAIMS
